         Case 3:21-cv-01342-OAW Document 1 Filed 10/11/21 Page 1 of 18




                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

PAOLA IMPEDUGLIA                            :      CIVIL ACTION NO.:
                                            :
        Plaintiff,                          :
                                            :
                v.                          :
                                            :
FAIRWAY INDEPENDENT                         :
MORTGAGE COMPANY                            :
                                            :
        Defendant.                          :      October 11, 2021

                                   NOTICE OF REMOVAL

TO:     THE UNITED STATES DISTRICT COURT FOR THE
        DISTRICT OF CONNECTICUT

        1.      Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendant Fairway Independent

Mortgage Company (“Defendant”), by and through its undersigned counsel, hereby notices the

removal of this action to the United States District Court for the District of Connecticut. As

grounds in support of this Notice of Removal, Defendant states the following:

                            I.     TIMELINESS OF REMOVAL

        2.      On or about September 15, 2021 Plaintiff Paola Impeduglia (“Plaintiff”) filed a

civil action alleging pregnancy discrimination and retaliation against Defendant in the Superior

Court of Connecticut, Judicial District of Bridgeport at Fairfield, Docket No. FBT-CV21-

6109754-S (the “Complaint”). Copies of the Summons, and Complaint are attached hereto as

Exhibit A, pursuant to 28 U.S.C. § 1446(d). These are the only process, pleadings, or orders

known by Defendant to have been served in this action.

        3.      Defendant was served with a copy of Complaint on or around September 10,

2021.
           Case 3:21-cv-01342-OAW Document 1 Filed 10/11/21 Page 2 of 18




         4.       Accordingly, pursuant to 28 U.S.C. § 1446(b), this Notice of Removal has been

timely filed within 30 days after service of process on Defendant of the Complaint and within 30

days of this matter becoming removable.

                                            II.     VENUE

         5.       The Superior Court of Connecticut, Judicial District of Bridgeport, is located

within the United States District Court for the District of Connecticut.           28 U.S.C. § 86.

Therefore, venue is proper in this Court because it is the “district and division embracing the

place where such action is pending.” 28 U.S.C. § 1441(a).

                  III.     BASIS FOR REMOVAL: DIVERSITY JURISDICTION

         6.       This action is properly removable under 28 U.S.C. §1441(b) because the United

States District Court has original jurisdiction in this case under 28 U.S.C. §1332(a), which provides

that “[t]he district courts shall have original jurisdiction of all civil actions where the matter in

controversy exceeds the sum or value of $75,000, exclusive of interest and costs, and is between . . .

citizens of different States . . . .”

         A.       AMOUNT IN CONTROVERSY

         7.       As set forth above, diversity jurisdiction exists “where the matter in controversy

exceeds the sum or value of $75,000, exclusive of interest and costs . . . . .”

         8.       In accordance with Connecticut practice, Plaintiff’s Statement of Amount in Demand

“requests damages ‘in excess of $15,000.’” Baron v. Maxam N. Am., Inc., No. 3:11-CV-198, 2012

WL 1247257, at *3 (D. Conn. April 13, 2012); Pl.’s Compl. at p. 8. Where, as here, “the pleadings

are inconclusive as to the amount in controversy, courts may look outside the pleadings to other

evidence in the record.” Id. (citing Vermande v. Hyundai Motor Am., Inc., 352 F.Supp.2d 195, 199

(D. Conn. 2004)).




                                                    2
         Case 3:21-cv-01342-OAW Document 1 Filed 10/11/21 Page 3 of 18




        9.      Plaintiff’s Complaint contains two counts against Defendant, stating claims for:

pregnancy discrimination in violation of the Connecticut Fair Employment Practices Act

(“CFEPA”), Conn. Gen. Stat. § 46a-60 et seq. (Count One); and retaliation in violation of CFEPA,

Conn. Gen. Stat. § 46a-60(b)(1) (Count Two).

        10.     In relation to her claims, Plaintiff seeks monetary damages, which include:

compensatory damages; damages for back pay; front pay; lost personal days; emotional distress; pre-

and post-judgment interest; as well as attorneys’ fees and costs, and other relief. (Pl.’s Compl. at p.

7.)

        11.     According to the allegations in the Complaint, Plaintiff’s employment with

Defendant terminated on or about January 14, 2020. (Compl. at ¶ 56). Therefore, as of the date of

the Notice of Removal, and assuming Plaintiff has not secured a new position, she has been out of

work for over one year and eight months (or about 90 weeks). According to the allegations in the

Complaint, Defendant hired Plaintiff as a Production Partner. (Compl. at ¶ 8). As an employee of

Defendant, upon information and belief, Plaintiff earned approximately $22.50/hour and worked

approximately 40 hours/week. Consequently, as of the date of this Notice of Removal, Plaintiff’s

alleged lost wages are at least $75,000.00. While Defendant does not concede or admit any damages,

based on the likely date of a trial in this matter, Plaintiff’s claims for back pay damages, alone, will

likely exceed $75,000.00, if she is successful in her claims. Plaintiff also seeks damages for

emotional distress, which she has indicated her alleged emotional distress damages exceed

$75,000.00.

        12.     Finally, where attorneys’ fees are potentially recoverable pursuant to statute, which is

the case here, such fees may be used to satisfy the amount in controversy requirement. See Kimm v.

KCC Trading, Inc., No. 10-4880, 2012 WL 171503, at *1 (2d Cir. Jan. 23, 2012); Conn. Gen. Stat. §




                                                   3
          Case 3:21-cv-01342-OAW Document 1 Filed 10/11/21 Page 4 of 18




46a-104. Given the nature of Plaintiff’s claims, her attorneys’ fees could exceed $75,000.00 if she is

successful.

        13.     Plaintiff’s costs and expenses are accruing and will contribute to the actual amount in

controversy.

        14.     Accordingly, pursuant to 28 U.S.C. §1446(c)(2)(B), although Defendant does not

concede or admit that Plaintiff suffered any damages, or that it is liable for any claimed damages,

removal is proper because based upon the preponderance of the evidence, the amount in controversy

exceeds the sum or value of $75,000.00, exclusive of interest and costs.

        B.      DIVERSITY OF CITIZENSHIP

        15.     According to her Complaint, Plaintiff is a resident and citizen of the state of

Connecticut. (See Compl. ¶ 1).

        16.     Defendant is a Texas corporation with its principal place of business in Wisconsin.

Thus, under 28 U.S.C. § 1332, Defendant is not a citizen of Connecticut. (See Compl. ¶ 2).

        17.     Therefore, complete diversity exists between the named parties under 28 U.S.C. §

1332, as Defendant is not a citizen of the same state as Plaintiff.

                                        IV.     CONCLUSION

        18.     To date, Defendant has not filed a responsive pleading in Plaintiff’s state court action,

and no other proceedings have transpired in that action.

        19.     Pursuant to 28 U.S.C. § 1446, a copy of this Notice of Removal has been served upon

all adverse parties and upon the Clerk of the State Court.

        20.     By removing this matter, Defendant does not waive or intend to waive any defense

that may be available to it.

        WHEREFORE, Defendant respectfully requests that this Honorable Court take

jurisdiction of this action and issue all necessary orders and process to remove said action from


                                                    4
         Case 3:21-cv-01342-OAW Document 1 Filed 10/11/21 Page 5 of 18




the Superior Court of Connecticut, Judicial District of New Haven, to the United States District

Court for the District of Connecticut.

                                            DEFENDANT,
                                            FAIRWAY INDEPENDENT
                                            MORTGAGE COMPANY

                                            By:     /s/ Kelly M. Cardin
                                            Kelly M. Cardin (CT29162)
                                            Nicole S. Mulé (CT30624)
                                            Ogletree, Deakins, Nash, Smoak & Stewart, P.C.
                                            281 Tresser Blvd., Suite 602
                                            Stamford, CT 06901
                                            Telephone: 203.969.3109
                                            Facsimile: 203.969.3150
                                            kelly.cardin@ogletree.com
                                            nicole.mule@ogletree.com




                                               5
         Case 3:21-cv-01342-OAW Document 1 Filed 10/11/21 Page 6 of 18




                                CERTIFICATE OF SERVICE

       I hereby certify that on October 11, 2021, the foregoing was filed electronically and

served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent by

email to all parties by operation of the court’s electronic filing system or by mail to anyone

unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may

access this document through the court’s CM/ECF System.



                                                           /s/ Nicole S. Mulé
                                                    Nicole S. Mulé




                                                6
Case 3:21-cv-01342-OAW Document 1 Filed 10/11/21 Page 7 of 18




                    EXHIBIT A
                                                                48795624.1




                             7
                         Case 3:21-cv-01342-OAW Document 1 Filed 10/11/21 Page 8 of 18


 SUMMONS - CIVIL                                                                      For information on                              STATE OF CONNECTICUT
 JD-CV-1 Rev. 2-20                                                                    ADA accommodations,                                 SUPERIOR COURT
 C.G.S. §§ 51-348, 51-347, 51-349, 51.350, 52-45a, 52-48, 52-259;                     contact a court clerk or
 P.B. §§ 3-1 through 3-21, 8-1, 10-13                                                                                                            www.lud.ct.gov
                                                                                      go to: wwwjud.cLgov/ADA.
 Instructions are on page 2.
 El Select if amount, legal interest, or property in demand, not including interest and costs, is LESS than $2,500.
 E    Select if amount, legal interest, or property in demand, not including interest and costs, is $2,500 or MORE.
 ❑ Select if claiming other relief in addition to, or in place of, money or damages.

 TO: Any proper officer
 By authority of the State of Connecticut, you are hereby commanded to make due and legal service of this summons and attached complaint.
 Address of court clerk (Number, street, town and zip code)                                              Telephone number of clerk                  Return Date (Must be a Tuesday)
1061 Main Street; Bridgeport, CT 08604                                                                   ( 203) 579 — 6527                          10/12/2021
[11 Judicial District                  At (Cityfrown)                                                                                     Case type code (See list on page 2)
                         G.A.
Ei Housing Session 0 Number:           Fairfield                                                                                           Major: M                Minor: 90
 For the plaintiff(s) enter the appearance of:
 Name and address of attorney, law firm or plaintiff if self-represented (Number, street, town and zip code)                                  Juds number (if attorney or law firm)
 Sabatini and Associates, LLC; One Market Square; Newington, CT 06111                                                                         052654
 Telephone number                            Signature of plaintiff (if self-represented)
 ( 860) 667 0839
 The attorney or law firm appearing for the plaintiff, or the plaintiff if                                     E-mail address for delivery of papers under Section 10-13 of the
                                                                                                               Connecticut Practice Book (if agreed)
 self-represented, agrees to accept papers (service) electronically
 in this case under Section 10-13 of the Connecticut Practice Book. El Yes El No
    Parties              Name (Lest, First, Middle initial) and address of each party (Number; street; P.O. Box; town; state; zip; country, If not USA)
     First           Name:   IMPEDUGLIA, Paola
                                                                                                                                                       P-01
   plaintiff         Address: 43 Youngstown Road; Fairfield, CT 08824
  Additional         Name:
                                                                                                                                                                                  P-02
   plaintiff         Address:
     First           Name:      FAIRWAY INDEPENDENT MORTGAGE CORPORATION; 4750 S BlItmore Ln.; Madison, Wisconsin 53718
                                                                                                                               13.01
  defendant          Address:    Agent: Corporation Service Company; 100 Pearl Street; 17th Floor; MC-CSC1; Hartford, CT 06103
  Additional         Name:
                                                                                                                                                                                  D-02
  defendant          Address:
  Additional         Name:
                                                                                                                                                                                  D-03
  defendant          Address:
  Additional         Name:
                                                                                                                                                                                  D-04
  defendant          Address:

Total number of plaintiffs: 1                             Total number of defendants:1                                    p   Form JD-CV-2 attached for additional parties

Notice to each defendant
1. You are being sued. This is a summons in a lawsuit. The complaint attached states the claims the plaintiff is making against you.
2. To receive further notices, you or your attorney must file an Appearance (form JD-CL-12) with the clerk at the address above. Generally,
   it must be filed on or before the second day after the Return Date. The Return Date is not a hearing date. You do not have to come to
   court on the Return Date unless you receive a separate notice telling you to appear.
3. If you or your attorney do not file an Appearance on time, a default judgment may be entered against you. You can get an Appearance
   form at the court address above, or on-line at littps://jud.ct.gov/webforms/.
4. If you believe that you have insurance that may cover the claim being made against you in this lawsuit, you should immediately contact
   your insurance representative. Other actions you may take are described in the Connecticut Practice Book, which may be found in a
   superior court law library or on-line at https://wwwjud.ct.gov/pb.fitm.
5. If you have questions about the sum           and complaint, you s           0-an-attorney.
   The court staff Is not allowed t       v dvice on leg            ers.
Dat                    Signed (Sign and . =lect p •:r box)                                  Li Commissioner of Superior Court     Name of person signing
9- Vl -2021                                                                                 ❑                             Clerk   James V. Sabatini, Esquire
If this.summons is si      d by a Cie                                                                                                                    For Court Use Only
                                                                                                                                             File Date
a. The signin         seen done so that the plaintiff(s) will not be denied access to the courts.
b. It is the responsibility of the plaintiff(s) to ensure that service is made in the manner provided by law.
c. The court staff is not permitted to give any legal advice in connection with any lawsuit.
d. The Clerk signing this summons at the request of the plaintiffs) is not responsible in any way for any
     errors or omissions in the summons, any allegations contained in the complaint, or the service of the
     summons or complaint.
                                 Signed (Self-represented plaintiff)                                               Date                     Docket Number
I certify I have read and
understand the above:
                                                                                      Pago 1 of 2
         Case 3:21-cv-01342-OAW Document 1 Filed 10/11/21 Page 9 of 18




RETURN DATE: October 12, 2021

PAOLA IMPEDUGLIA                                       SUPERIOR COURT

VS.                                                    FAIRFIELD JUDICIAL DISTRICT

FAIRWAY INDEPENDENT
MORTGAGE CORPORATION                                   SEPTEMBER 10, 2021

                                            COMPLAINT

        1.      Plaintiff Paola Impeduglia was and is a Connecticut citizen residing in the Town

of Fairfield.

        2.      Defendant Fairway Independent Mortgage Corporation was and is a corporation

organized and existing under the laws of the State of Texas with a principal place of business

located at 4750 S Biltmore Lane, Madison, Wisconsin 53718.

       3.       Defendant is an employer within the meaning of Connecticut's Fair Employment

Practices Act (CFPEA).

       4.       At times material, plaintiff was an employee within the meaning of Connecticut's

Fair Employment Practices Act (CFPEA).

       5.       Defendant employed plaintiff.

       6.       At times relevant, defendant employed three (3) or more individuals.

       7.       Defendant hired plaintiff in March 2019.

       8.       Plaintiffs job position was Production Partner.

       9.       Plaintiff was qualified•for the job.

       10.      Plaintiff worked at defendant's Fairfield, Connecticut office.

       11.      Defendant employs Justin Egan.

       12.      Egan is a supervisory employee.

       13.      Egan is the Branch Manager for the Fairfield office.
                                               1
        Case 3:21-cv-01342-OAW Document 1 Filed 10/11/21 Page 10 of 18




        14.     Egan supervised plaintiff.

       15.      Defendant was notified of plaintiffs pregnancy.

       16.      In July/August 2019, defendant was notified of plaintiffs pregnancy.

       17.      Defendant was notified of plaintiffs intention to take a maternity leave of

absence.

       18.      In response to plaintiff's pregnancy and intention to take maternity leave, Egan

stated to the plaintiff: "before we invest in you, we want to know if you are going to come back."

       19.      Egan's comment was in direct reference to plaintiffs future maternity leave of

absence.

       20.      Plaintiff notified defendant that she absolutely intended to return to her job

following the maternity leave of absence.

       21.      Defendant interviewed plaintiff as part of its hiring process.

       22.      Egan interviewed plaintiff for the job.

       23.      During the job interview, Egan asked plaintiff if she had children; if she was

planning on having children; and if she was going to have a baby soon.

       24.      Plaintiff notified defendant of her due date — March 28, 2020.

       25.      Plaintiff told defendant that she intended to start her maternity leave when her

water breaks.

       26.      Plaintiff notified defendant that she intended to take a 12 week maternity.leave.

       27.      Defendant wanted plaintiff to take a 8 week maternity leave.

       28.      Plaintiff developed pregnancy complications.

       29.      Defendant was notified of plaintiff's pregnancy complications.

                                                 2
          Case 3:21-cv-01342-OAW Document 1 Filed 10/11/21 Page 11 of 18




          30.    On or about November 6, 2019, plaintiff was taken out of work due to pregnancy

complications.

          31.    Plaintiff provided defendant with a signed medical authorization.

          32.    Defendant uses a third party vendor, Matrix Asset Manager, in connection with

short term disability claims and leaves of absences.

          33.    Defendant employs Tiffany Knight.

          34.    Knight works in defendant's human resources department and her job title is HR

Partner.

          35.    Defendant employs Katie Loehr.

          36.    Loehr works in defendant's human resources department and her job title is

Benefits Specialist.

          37.    Knight was aware that plaintiff was pregnant.

          38.    Knight was aware that plaintiff suffered pregnant complications.

          39.    Loehr was aware that plaintiff was pregnant.

          40.    Loehr was aware that plaintiff suffered pregnancy complications.

          41.   Plaintiffs treating health care provider placed her on a leave of absence from

work due to the pregnancy complications.

          42.   The pregnancy complications included post-partum depression and post-traumatic

stress.

          43.   Defendant received medical documentation regarding plaintiffs pregnancy

complications including the post-partum depression and post-traumatic stress.

          44.   Plaintiffs treating health care provider initially identified December 31, 2019 as a

probable return to work date.

                                                  3
        Case 3:21-cv-01342-OAW Document 1 Filed 10/11/21 Page 12 of 18




        45.     Plaintiffs treating health care provider subsequently extended the leave of

absence due to the pregnancy-related complications to January 31, 2020.

        46.     Defendant was notified of plaintiffs request to extend the leave of absence.

        47.    Defendant was notified of plaintiffs request to extend the leave of absence due to

the pregnancy-related complications.

        48.    In December 2019, plaintiff asked defendant if she could work from home on a

temporary basis.

        49.    Defendant rejected plaintiffs request to work from home temporarily.

        50.    Defendant employs a Processor who works from home.

        51.    Plaintiff told defendant that she planned on getting pregnant again.

        52.    Matrix notified defendant that plaintiffs leave was approved through January 31.

        53.    On or about January 8, 2020, plaintiff had a telephone conference call with Loehr

and Knight.

       54.     During the January 8, 2020 conference call, defendant notified plaintiff that the

leave was approved to January 31, 2020 and she could return to work on February 2, 2020.

       55.     On or about January 13, 2020, defendant's Human Resources department called

plaintiff and told her that they had talked to the Fairfield branch (where plaintiff worked) and

concluded that it would be a hardship to accommodate the plaintiffs leave.

       56.     On January 14, 2020, defendant terminated plaintiffs employment.

       57.     Any and all excuses to be offered by defendant to explain the termination decision

would be a pretext to mask unlawful pregnancy discrimination and/or retaliation.




                                                 4
           Case 3:21-cv-01342-OAW Document 1 Filed 10/11/21 Page 13 of 18




           58.    Plaintiff filed a complaint against defendant with the Connecticut Commission on

Human Rights and Opportunities (CHRO) on or about April 2, 2020

           59.   Plaintiff received a Release of Jurisdiction from the CHRO on June 22, 2021

(Exhibit 1).

                                         FIRST COUNT
                         (Pregnancy Discrimination — C.G.S. §46a-60(b)(7))

          1.     Plaintiff repeats the allegations paragraphs 1 through 59 as if fully incorporated

herein.

          60.    Defendant, by and through its agents and/or employees, violated the Connecticut

Fair Employment Practices Act C.G.S. §46a-60(b)(7) in one or more of the following ways.

          a.     In that defendant interfered with plaintiff's privilege of employment on the basis

                 of plaintiff's pregnancy;

          b.     In that defendant limited and classified the plaintiff by her pregnancy in such a

                 way that deprived her of her employment and/or employment opportunities;

          c.     In that defendant discriminated against the plaintiff in such a way that adversely

                 affected her status as an employee;

          d.     In that defendant treated the plaintiff adversely different from similarly situated

                 employees;

          e.     In that defendant terminated the plaintiff from her employment on account of her

                 pregnancy;

          f.     In that defendant failed or refused to reinstate plaintiff to her original job or to an

                 equivalent position with equivalent pay and accumulated seniority, retirement,

                 fringe benefits and other service credits upon plaintiffs signifying her intent to

                 return her job;
                                                    5
          Case 3:21-cv-01342-OAW Document 1 Filed 10/11/21 Page 14 of 18




          g.    In that defendant refused to grant plaintiff a reasonable leave of absence for

                disability resulting from her pregnancy;

          h.    In that defendant failed or refused to make a reasonable accommodation for the

plaintiff due to her pregnancy.

          61.   As a result of defendant's violations of Connecticut Fair Employment Practices

Act C.G.S. §46a-60(a)(7), plaintiff suffered harms and losses including: loss of employment, loss

of income and wages and loss of benefits to which she was entitled under defendant's employee

benefits plan, and medical bills.

          62.   As a further result of defendant's termination of plaintiff, plaintiff has suffered

severe humiliation, embarrassment, emotional distress and harm to her professional and personal

reputations.

          63.   Plaintiff has suffered and will continue to suffer injuries as a result of defendant's

wrongful and discriminatory acts.

                                        SECOND COUNT
                        (Retaliation in Violation of C.G.S. §46a-60(b)(7))

          1.    Plaintiff repeats the allegations paragraphs 1 through 63 as if fully incorporated

herein.

          64.   Defendant, by and through its agents and/or employees, retaliated against the

plaintiff for requesting a reasonable accommodation in violation of C.G.S. §46a-60(b)(7)(K).

          65.   Plaintiff sustained harms and losses because of defendant's retaliation.




                                                  6
        Case 3:21-cv-01342-OAW Document 1 Filed 10/11/21 Page 15 of 18




                                     DEMAND FOR RELIEF

        WHEREFORE, plaintiff prays for appropriate damages including: compensatory

damages; damages for back pay, front pay, lost personal days, emotional distress; reasonable

attorneys' fees; costs; statutory punitive damages; interest; job reinstatement; pre-judgment

interest; post judgment interest; for an injunction requiring the removal of any and all adverse

information contained in plaintiff's personnel file; for a trial by jury; and for all other just and

proper relief.

        Hereof fail not but of this writ with your doings thereon make due service and

return according to law.

        Dated at Newington, Connecticut this 10th day of September, 2021.




                                               James Sabati
                                               S ATINI              OCIATES, LLC
                                               1 arket Squ
                                              Newington, CT 06111
                                              Tel. No.: (860) 667-0839
                                              Fax No.: (860) 667-0867
                                              Email: jsabatini@sabatinilaw.com
                                             Juris No. 052654


Please file our appear
on behalf of the Pia'



James    Sabatini
Case 3:21-cv-01342-OAW Document 1 Filed 10/11/21 Page 16 of 18




             STATEMENT OF AMOUNT IN DEMAND

            The amount in demand is greater than $15,000.00

                    exclusive of attorneys and costs.




                                  8
Case 3:21-cv-01342-OAW Document 1 Filed 10/11/21 Page 17 of 18




                 EXHIBIT 1
        Case 3:21-cv-01342-OAW Document 1 Filed 10/11/21 Page 18 of 18



                                    STATE OF CONNECTICUT
             COMMISSION ON HUMAN RIGHTS AND OPPORTUNITIES



 Paola Impedudlia
 COMPLAINANT                                                     CHRO No. 2020426

 vs.                                                             EEOC No. 16A-2020-00898

Fairway Independent Mortgage Corporation
RESPONDENT

                                     RELEASE OF JURISDICTION

The Commission on Human Rights and Opportunities hereby releases its jurisdiction over the above-identified
complaint. The Complainant is authorized to commence a civil action in accordance with CONN. GEN.
STAT. § 46a-100 against the Respondent in the Superior Court for the judicial district in which the
discriminatory practice is alleged to have occurred, in which the Respondent transacts business or in which
the Complainant resides. If this action involves a state agency or official, it may be brought in the Superior
Court for the judicial district of Hartford.

A copy of any civil action brought pursuant to this release must be served on the Commission at ROJActdov
or at 450 Columbus Blvd., Suite 2, Hartford, CT 06103 at the same time all other parties are served.
Electronic service is preferred. THE COMMISSION MUST BE SERVED BECAUSE IT HAS A RIGHT TO
INTERVENE IN ANY ACTION BASED ON A RELEASE OF JURISDICTION PURSUANT TO
CONN. GEN. STAT. § 46a-103.

The Complainant must bring an action in Superior Court within 90 days of receipt of this release and within
two years of the date of fiiinq the complaint with the Commission unless circumstances tolling the
statute of limitations are present.




DATE: June 22, 2021                                          Tanya A. Hughes, Executive Director

mrm
Service:
Complainant: Paola Impeduglia paulaimpedAyahoo.com
Complainant's Counsel: James V. Sabatini, saAsbatinilaw.com; jackieAsabatinilaw.com
Respondent's Attorney: Nicole S. Mule, Nicole.mule@oldetree.com
